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                         U.S.SECURITIES AND EXCHANGE COMM ISSION
                                                                               Investigation//171
                                                                                                -,-04282
                                         DECLARATION OF Fawad W alizai
     Pursuantto 28 U.S.C.Section 1746,the undersigned statesasfollows:

            M y name isFawad W alizailam overtwenty-oneyearsofageand havepersonalknowledge ofthe matters
            setforth herein.


                lam assigned asan IT Specialistto the U.S.Securitiesand ExchangeCom mission'sDivision of
                Enforcem entin W ashington,D.C. Aspartofmy dutiesIhavebeen trainedto preserve variousforms
                ofonlinecontent.Forinvestigation #FL-04282. lhave been tasked to conducta W ebsite
                Capture/video Capture/socialM edia/-relegram/live stream/blog

                In supportofinvestigation num berF1-.-04282,and atthedirection ofmy supervisor,Iwastasked to
                conductan internetpreservation ofthe following URL's.

            hlps://web.archive.org/web/zozl0l26lzoo37/httpsr//ulww .mjcapi
                                                                         talfunds.com/why-mj-capital-funding/
            hdps://web.archive.org/web/zozol20522053l/hûp://www .mjcapi
                                                                      talfunds.com/merchant-cash-advance/
            hups://web.archive.org/web/zozoll26145024/hûp://> w .mjcapi
                                                                      talfunds.com/

            Icompletedtheabovem entioned internetpreservationon,July30,2O21,usingthefollowingtools:
                    FullPage Screen Capture

                Theabovelisted toolsarecomm only used to preserveinternetcontent.

            Isaved theabove-mentioned internetpreservation using FTK lmager, which ensuresthattheinternet
            preservation willnotbealtered ormodiGed during storage. Specifically, FTK Imajerforensi  callysealsthe
            internetpreservation such thatitcan beopened only with FTK lm ager. The sealed lnternetpreservation
            hasbeenIabeledFL-04282 andsavedtothefollowing location:

            K:
             hother Projectsh
                            yW ebcapturesimagefiles
            lalso saved acopy oftheabove mentioned internetpreservation along withthisdeclarationto anetwork
            share. The location forthisnetwork share isprovided below :

                    Krhother ProjectshWebcapturesh

    ldeclareunderpenalty ofperjurythattheforegoingistrue,correct,andmadeingoodfaith.




                                                              Executed on this30t*day ofJuly 2021.
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               Just4 Simple Steps
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